Case 6:15-cv-02000-GAP-KRS Document 16-1 Filed 04/15/16 Page 1 of 6 PagelD 57

EXHIBIT A
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— ee,

ID 58

. Page 2 of 6 Page
GAP-KRS Document 16-1 Filed 04/15/16 g ve ce
-15-cv-02000- - 7
Case 6:15-cv-0 :

 

Defendant has entereg Into this Agreement on behalf of related and affiliated entities,
and their owners, representatives, officers, directors, agents, employees, Successors and

rem insurers, and al] Persons acting by, through, under or in concert with or for any of
em.

_ Plaintiff and Defendant are collectively Teferred to as the “Parties,” with each Party
intending to be bound by the terms and conditions of this Agreement.

Ip Consideration of the mutual Covenants contained herein, and other good and valuable
consideration, the receipt and Sufficiency of which js hereby expressly acknowledged, the
Parties expressly, knowingly, and Voluntarily agree as follows:

including the date on which this Agreement js executed and Plaintiff represents that no other
charges, actions Or claims are Pending on her behalf, other than the Lawsuit;

NOw, THEREFORE, in consideration of the premises and mutual Promises contained
herein, it is agreed as follows:

1, The Parties entered into this Agreement for the sole Purpose of resolving the
&forementioned Lawsuit and to avoid the burden, expense, delay, and Wicertainties of litigation
and any Possible or future charges, complaints, claims, or lawsuj

2, Upon execution of this Agreement by all Parties and the payment of the
Monies referenced herein, Plaintiff wij] file a Voluntary Dismissal which salt be Pi epaisu Uy
 

 

 

 

 

 

 

 

Plaintiff's counsel.

payments:

a period of four consecutive months, in checks made payable to Plaintiff with
each payment due on the 1" day of Month, beginning on May ], 2016
through the next four consecutive months. All checks will be mailed directly

to Plaintiff's counsel’s office, located at 10 N. Florida Ave., Suite 300,
Tampa, FL 33602,

(B) The Parties further acknowledge that Plaintiff's attomeys’ fees and costs were

Negotiated Separately from and without regards to the amounts being paid to Plaintiff under
this Agreement.

with each payment due on the 1" day of Month, beginning on May 1, 2016 through the next
four consecutive months. All checks will be mailed directly to Plaintiff's counsel's Office,
focated at 1110 N. Florida Ave., Suite 300, Tampa, FL 33602.

(E). —- Plainti¢¢ (and her heirs, assigns, executors, administrators, accountants, tax
Preparers, agents, representatives, or attomeys) shall refrain from making any written or oral

Statement or taking any action, directly or indirectly, which they know or reasonably should
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former employees (including Independent Contractors) of Defendant, customers of Defendant,
companies who do business with i
fo this promise of confidentiality

(G). Except as otherwise agreed in this Agreement, the Parties shall bear their own
attorneys’ fees and costs.

(). This Agreement shall be interpreted in accordance with the plain meaning of
its terms and not for or apainst the drafter,

(J). All provisions of this Agreement are severable and, if any part of it is found to
be unenforceable, the other Paragraphs shall remain fully valid and enforceable.

(K). This Agreement is entered into in the State of Florida, and its validity,
construction, interpretation, construction, and administration shal] be governed by the laws of
the State of Florida, Any action or Proceeding brought to enforce the terms of this Agreement
Shall! exclusively Jie in the State courts in Orange County, Florida. The Parties hereby
knowingly, voluntarily, and intentionally waive any right either may have to a trial by Jury
with respect to any litigation related to or arising out of, under, or in conjunction with this
Agreement.

(K). All Parties AgTEe tO cooperate fully, to execute any and all Supplementary
documents, and to take all additional actions that may be Necessary Or appropriate to Rive full

(M). This Agreement may be executed in counterparts, each of which Shall be

deemed an original, but all of such counterparts taken together shall Coustitute one and the
Same agreement,
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| e 5 of 6 PagelD 6
000-GAP-KRS Document 16-1 Filed 04/15/16 Pag Wie wi
Case 6:15-cv-02000-

(N). In compliance with the Older Workers Benefit Protection Act, Plaintits
Acknowledges that she has th ly

Oroughly read the entire Agreement, and Specifically
acknowledges the following:

A. Plaineiff Understands the language of the settlement agreement Aad
release, and that 8DY questions she May have had during her review
of the Agreement was explained to her satisfaction and
Understanding by retained legal Counsel of her choosing;

B. Plaintiff understands that the Waiver and release Specifically includes
& waiver of rights and claims arising under the Age Discrimination jn
Employment Act (“ADEA”);

C. Plaintitrs Waiver of rights and claims in this Agreement is in
exchange for good and valuable consideration as described in this
Agreement, including the payment from Defendant Provided for in
this Agreement, which Plaintife acknowledges she js not otherwise

D. Plaintiff Understands that she is not Waiving any rights or claims
that may arise after the date this Agreement and release jig executed;

E, Plaintiff has been advised to consult, is advised to Consult, and has
Consulted tepal counse] of her choosing Prior to executing this
Agreement, and who has carefully read and fully explained all the
Provisions of this Agreement, and explained it to Plaintiff,

H, Plaintiff has had 4 reasonable time Period up to twenty-one (21) days
from receipt of this document to accept the terms of and Sign this
Agreement, and that she may accept and Sign this Agreement before
expiration of the twenty-one (21) day time Period, but is not required
; of 6 PagelD 62
6-1 Filed 04/15/16,.Rage,6 p.1
. -GAP-KRS Document 1
Case-6:15-cv-02600-G

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RELEASE BY PLAINTIFF OF

1967, AS AMENDED, THE OLDER wo
AMENDED, AND THE

PLEASE READ THIS

In witness whereof, KATHLEEN VILLALBA hereto executes this eigh t-page

Agreement.

In witness whereof, ELDON SINCERBOX,
C. bereto.executes this eight.

page Agreement.

AGREEMENT

AMVETS Po

Date:

Eldon Sincerb

 

St 33, Inc,

‘Ox, on behalf

IT CONTAINS A
KNOWN CLAIMS AGAINST
EMPLOYMENT ACT

  

of Defendant

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